Ao 2453 <R¢v. 1@@$<9,\§1>1,€»:@{5£1@127.,5§,&§§., §%Wt 22 Filed 10/03/13 Page 1 015 Pagelr)# 75

_ l L
UNITED STATES DISTRICT COURT E
Eastern District of Virginia UCT ~ 8 2[]|3
Richmond Division

 
  

 

CLERK, U. S. DISTR|CT COURT

 

 

UNITED STA'I`ES OF AMERICA ii R'CHMOND VA
v. Case Number: 3:13CR00127-001

JOSHUA CLAYTON BRADY, USM Number: 79702-083

a/k/a Jacob Attlinger Defendant's Attorney: Mary E. Maguire, Esq.

Defendant.

JUDGMENT IN A CRIMINAL CASE
The defendant pleaded guilty to Counts One and 'I`wo.

Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.

Title and Section Nature of Ol`l`ense Ofl'ense C|ass Ol`fense Ended Counts
18:912 lMPERSONATlNG A FEDERAL Felony 6/25/2013 One & Two
OFFICER

As pronounced on October 7, 2013, the defendant is sentenced as provided in pages 2 through 5 of this Judgment. The
sentence is imposed pursuant to the Sentencing Refonn Act of 1984.

lt is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. lf ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances

 

Judgment Imposed this 7th day of October, 2013.

/s/ 761`-/
JohnA. Gibney,}' r. yj J//
United States District dge

 

 

 

Dated: (O/g?/ 3

AOMB(RW l2(/30§\§$`§5}€§`-§5;9§€[)“%“2§-a.]é§;§`§:na| aoccument 22 Fl|eo| 10/08/13 Page 2 of 5 Page|D# 76

Slteet 3 - Probation

PageZofS

 

Case Number: 3:13CR00127~001
Del'endant’s Name: BRADY, JOSHUA CLAYTON

PROBATION

The defendant is hereby placed on probation for a term of FIVE (5) YEARS.

The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
probation.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federa|, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedu|e of Payments set forth in the Criminal Monetary Penalties
sheet of thisjudgment.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.

Case 3:13-cr-00127-.]AG Document 22 Filed 10/08/13 Page 3 of 5 Page|D# 77

AO 2458 (Rev. 12/03)(VAED rev. 2) .ludgment in a Criminal Case Page 3 of 5

Shect 3A - Probation

 

Case Number: 3:13CR00\27-00|
Defendant’s Name: BRADY, JOSHUA CLAYTON

SPECIAL CONDITIONS OF SUPERVISION

While on probation pursuant to this Judgment, the defendant shall also comply with the following additional special
conditions:

l)
2)
3)
4)
5)

6)

The defendant shall not incur new credit card charges or open additional lines of credit without the approval of the
probation officer.

The defendant shall provide the probation officer with access to requested financial information.

The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
which program may include residential treatment and testing to determine whether the defendant has reverted to
the use of drugs or alcohol, as directed by the probation officer.

The defendant shall participate in a program approved by the United States Probation Office for mental health
treatment, including anger management, if deemed necessary, as directed by the Probation Officer.

The defendant shall pay the balance owed on any court-ordered financial obligations in monthly installments of
not less than $25, starting 60 days after supervision begins until paid in fu|l.

The defendant shall not use a computer without prior approval of the probation officer. The probation officer may
authorize the defendant to use the computer to apply for jobs, but the defendant shall seek prior approval and
follow any conditions set by the probation officer.

AOMSB(Rcv lg§)$(§A§l:)lr§- )rj-utggnlel§g\-aé“\lm(§ina||goecument 22 Filed 10/08/13 Page 4 of 5 Page|D# 78

 

Page 4 of 5
Sheet 5- Criminal Monctary Penalties
Case Number: 3:13CR00127-001
Defendant's Name: BRADY, JOSHUA CLA\/TON
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Count Assessment Lig Restitution

One $l 00.00 $0.00 $0.00

Two $lO0.00 $0.00 $0.00
TOTALS: $200.00 $0.00 $0.00

FINES

No fines have been imposed in this case.

AOMB am l§g§@A§l:)J,§;g,rILQQ,;J:gZ‘-a]&§\m|@gpument 22 Filed 10/08/13 Page 5 of 5 Page|D# 79 Pages°fs
Sheet 6 - Schedule of Payments

 

Case Number: 3:13CR00127-00l
Del'endant’s Name: BRADY, JOSHUA CLAYTON

SCHEDULE OF PAYMENTS

l-laving assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment Al| criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' lnmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (l) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of anyjudgment, fine, or special assessment by the United States.

